       Case 3:14-cr-03325-BAS                 Document 164          Filed 10/26/16          PageID.1210          Page 1 of 5

AD 245B (CASDRev. 08/13) Judgment in a Criminal Case

                                                                                                              [~I'T 0 I'
                                                                                                              Lvi   t'O     20'SI
                                       UNITED STATES DISTRICT COU T
                                            SOUTHERN DISTRICT OF CALIFORNIA                        sou'            , .~ t      Cfo, i

              UNITED STATES OF AMERICA                               JUDGMENT IN A CuIMINAII CASK····"--·~t,~.-
                                  v.                                 (For Offenses Committed On or After November I, 1987)
                  DANIEL ELIAS DEAIBES (2)
                                                                        Case Number:        14CR332S-BAS

                                                                     HEMANT (SHASHI) KEW ALRAMANI
                                                                     Defendant's Attorney
REGISTRATION NO.                  68403112
o
 lSI pleaded guilty to count(s)          ONE (l) OF THE INDICTMENT

o was found gUilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                        Nature of Offense                                                              Number(s)
18USCl341                              MAIL FRAUD                                                                        1




    The defendant is sentenced as provided in pages 2 through              5      of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                      --..-,;.--­
 o The defendant has been found not guilty on count(s)
 o     Count(s)                                                is           dismissed on the motion of the United States.

 lSI   Assessment: $100.00




 lSI   No fine                         Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                     OCTOBER 24. 2016
                                                                     Date of lm"o,ition~

                                                                                (j~                   .
                                                                     HON.     CYN~IA        BASH
                                                                     UNITED STATES DISTRICT JUDGE
                                                                                                      T




                                                                                                                     14CR3325-BAS
     Case 3:14-cr-03325-BAS           Document 164          Filed 10/26/16      PageID.1211         Page 2 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                DANIEL ELIAS DEAIBES (2)                                                 Judgment - Page 2 of 5
CASE NUMBER:              14CR3325-BAS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TWENTY FOUR (24) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the follo\\ing recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
             at                        A.M.                   on
            ------------------
       o as notified by the United States Marshal.
                                                                   -------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       [ZJ   on or before JANUARY 4, 2017 AT 12:00 PM (NOON)
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                                                              -------------------------------
 at ___________________ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL


                                                                                                        14CR3325-BAS
           Case 3:14-cr-03325-BAS                 Document 164               Filed 10/26/16            PageID.1212             Page 3 of 5

    AO 24SB (CASD Rev. 08113) Judgment in a Criminal Case

                                 DANIEL ELIAS DEAIBES (2)                                                                    Judgment - Page 3 of 5
    CASE NUMBER:                 14CR3325-BAS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shaH not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such tine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation otlicer:
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities:
     5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling. training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used. distributed. or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.



                                                                                                                                   14CR3325-BAS
     Case 3:14-cr-03325-BAS           Document 164        Filed 10/26/16      PageID.1213        Page 4 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              DANIEL ELIAS DEAIBES (2)                                                Judgment - Page 4 of 5
CASE NUMBER:            14CR3325-BAS

                                 SPECIAL CONDITIONS OF SUPERVISION

     1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
        illegally and report to the probation officer within 24 hours of any reentry into the United States;
        supervision waived upon deportation, exclusion, or voluntary departure.


     2. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


     3. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.


     4. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained,
        directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
        partnership or corporation until the fine or restitution is paid in full.


     5. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
        owned, directly or indirectly, including any interest held or owned under any other name, or entity,
        including a trust, partnership or corporation.


     6. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
        lines of credit without approval of the probation officer.


II
II
II




                                                                                                    14CR3325-BAS
       Case 3:14-cr-03325-BAS          Document 164         Filed 10/26/16      PageID.1214           Page 5 of 5

AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

   DEFENDANT:             DANIEL ELIAS DEAIBES (2)                                                 Judgment - Page 5 of 5
   CASE NUMBER:           14CR3325-BAS

                                              RESTITUTION


  The defendant shall pay restitution in the amount of _$1,819,591              unto the United States of America.

  Pay restitution in an amount to be determined, to the identified victims, through the Clerk, U. S. District Court.
  Payment of restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution
  through the Inmate Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00
  per quarter, whichever is greater. Following any period of incarceration, the defendant shall pay the restitution
  at the rate of $600 per month, or 25% of his income, whichever is greater. These payment schedules do not
  foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
  restitution judgment.

  Defendant shall be jointly and severally liable to pay restitution with co-defendants/coconspirators for the
  same losses. The presently known co-defendants/co-conspirators are MAZEN AHMAD ALZOUBI
  (14CR3325-BAS) and MOHAMED YASIN DAOUD (l4CR3326-BAS).

  Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
  Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
  after the change occurs.



  The Court has determined that the defendant      does        have the ability to pay interest.


        Victim                                                                         Amount
        Fidelity National Title Group                                                  $1,247,002
        clo Chicago Title Insurance Co.lCommonwealth Land Title Insurance Co
        Fraud Review Counsel
        601 Riverside Ave., Building 5, 4th Floor, Jacksonville, FL 32204

        First American Title Insurance Co.                                             $ 272,498
        clo W. Dean Cloud, Western Division Recoupment Counsel
        5 First American Way, 2 nd Floor, Santa Ana, CA 92707-7422

        Stewart Title Guaranty Company                                                 $ 291,734
        clo Adam Stricker, Salvage Counsel
        55 Madison St., 4th Floor, Denver, CO 80206

        DMC, Inc.                                                                      $   8,357
        clo Larry Newfield
        2801 Business Center Dr., Suite 155, Irvine, CA 92612
